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                           IN THE UNITED STATES DISTRICT couitf_                FILED 'ii~               a



                              NORTHERN DISTRICT OF INDIANA •                                         -       f
                                   HAMMOND DIVISION         i    MAR UO                                      ~
                                                                                              2024
    BRIAN VlJKADINOVICH,                           )                           Af~:::;:-;-~--
                                                                                 ChandaJ.Berta Clerk M   ~
                                                                                                             J
                                                                            N   U.S. DISTRICT COURT      •
                                                   )                         ORTHERN DISTRICT OF INDIANA •

                   Plaintiff,                      )
                                                   )
            v.                                     )       CAUSE NO. 2:22-CV-0118-TLS-JEM
                                                   )
                                                   )
    RICHARD A POSNER,                              )
                                                   )
                   Defendant.                      )


                           AFFIDAVIT OF BRIAN VUKADINOVICH

            1. I am the Plaintiff in this cause of action.

            2. All statements I have made in this litigation regarding .a purported

    Alzheimer's as to Defendant Richard A Posner were made in the context that I was never

    provided with any tangible evidence of"confirmed" Alzheimer's as to Defendant

    Richard A Posner.

            3. I explicitly stated in the Amended Complaint I filed at item nuinber 30 on page

     8 that the Defendant never told me that he had received a "confirmed" diagnosis of

    Alzheimer's Disease. (Docket #30).

            4. I explicitly stated in a previous affidavit filed in this Court in my "Affidavit of

    Brian Vukadinovich" under item number 11 that "Defendant Posner never told me that he

    had received a confirmed diagnosis of Alzheimer's Disease". (Docket #37, page 4).

            5. I never learned that the Defendant received a "confirmed" diagnosis of

    Alzheimer's Disease until I received a letter from Defendant's lawyer, Robert Kaufman,

     dated February 28, 2022, of which letter stated to me "What you clearly do not know is


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    that, soon after your conversations with Judge Posner in early 2018, he received a

     confirmed diagnosis of Alzheimer's Disease.", a copy of which letter is attached hereto

     and made a part hereof a Plaintiffs Exhibit 1.

            6. On May 8, 2022, I received an email from Defendant's wife, Charlene Posner,

    where Ms. Posner discussed Defendant's "mental condition" and stated to me that she

    was sorry that I was "so misled" about it, a copy of which email is attached hereto and

    made a part hereof a Plaintiffs Exhibit 2.

            7. As of this date, I have never been provided with any tangible evidence of a

    "confirmed" diagnosis of Alzheimer's Disease as to Defendant Richard A. Posner.

            8. The Declaration of Sakina Carbide contained many lies of which I pointed out

    in my motion for evidentiary hearing in asking this Court to hold an evidentiary hearing

     and to order Sakina Carbide to appear and testify under oath.

            9. Sakina Carbide previously filed an unsuccessful lawsuit where she sued a

    person who purportedly could not understand English well, nor speak fluent English, for

    attorney's fees of $177,250 at a rate of $400 per hour, and after an evidentiary hearing

    held by the Circuit Court of Cook County, in Case No. 10 D 1703, the Court ruled against

    her and Sakina Carbide appealed the adverse decision to the Illinois Court of Appeals

    where the Illinois Court of Appeals reviewed Sakina Carbide's affidavit and her

    testimony related to her affidavit and ruled against her stating 'Carbide's reliance on her

     own affidavit, attesting to her own "interpretation of the evidence and memory as to what

    happened," is not well taken.' https://casetext.com/case/in-re-marriage-of-christian-1.




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            10. The email that I sent to Defendant on November 11, 202·0, requesting that

    Defendant pay for my services that I provided to the Defendant, of which copy of email I

    provided to the Defendant's attorney and presented to this Court at the hearing on

    December 14, 2023, is a true and accurate copy of the email I sent to the Defendant on

    November 11, 2020.

            11. All of the exhibits submitted in connection to this affidavit, to my

    memorandum response to Defendant's motion for sanctions, to my exhibits to my motion

    for evidentiary hearing, and to my memorandum of law in support of my motion to strike

     conclusory statement of Sakina Carbide are all true and accurate copies.

            I attest that the foregoing statements are true and correct to the best of my

    knowledge, information and belief.



    Date: March 6, 2024                               d~~tP~
                                                   Brian Vukadinovich, Pro Se
                                                   1129 E. 1300 N.
                                                   Wheatfield, Indiana 46392
                                                   Tel. 219-956-2462




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FISCHEL I KAHN                                                                             ROBERT W. KAUFMAN . ATTORNEY
                                                                                312.726.0440 x214 I rkaufman@fischelkahn .com
                                                                                               155 North Wacker Drive. Suite 3850
                                                                                                          Chicago. Illinois 60606
                                                                                                                 fischelkahn .com




                                                         February 28, 2022



 VIA FEDERAL EXPRESS (STANDARD)
 Mr. Brian Vukadinovich
 1129 E. 1300 N.
 Wheatfield, IN 46392

 RE :     Richard A. Posner

 Dear Mr. Vukadinovich:


                                                                                         ...
        Please be advised that the undersigned are attorneys for Richard A. .Posner and, in such capacity,
 have been provided w ith a copy of your demand letter of February 22, 2022.

          What you clearly do not know is that, soon after your conversations with Judge Posner in early
 2018, he received a confirmed diagnosis of Alzheimer's Disease. He has long since moved to a nursing
 facility and, for that reason, never received the emails which you sent, and would not have been ab le to
 respond to them even if he had.

         As to the substa nce of your claim, we believe that medica l evidence will show that the Judge did
 not have the legal capacity to ent er into contract s in 2018. Further, any contract for services to be
 rendered on behalf of the Posner Center would have been an obligation of the Posner Center, and not
 an individua l obligation of the Judge.

         As you note in your letter, the Posner Center dissolved as of July 23, 2019 and, to our knowledge,
 the entity had no assets with which to pay its liabilities at such time.

          We ar e sorry that things worked out the way they did and, but for Judge Posner's illness, we
 ass ume that the venture would have proven to be a successful one. That being said, any effort by you to
 litigate this matter will be resisted forcefully by the family of the Judge.

                                                                             Very truly you rs,

                                                                             FISCHEL I KAHN

                                                                             Rooovt W. KetMfww.,n;

                                                                             Robert W . Kaufman
 RWK:js
 W:\rwk\P270\P270-2\LtrVukadinovich. Response. 02 28 22 .docx                                                     ..
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         USDC
         w/r    IN/NDletter
             to your   case 2:22-cv-00118-TLS-JEM                      document 141           filed 03/06/24         page 5 of 6

         Charlene Posner <cposner62@gmail.com>
         Sun 5/8/2022 6:52 PM
         To:Brian Vukadinovich <bvukadinovich@hotmail.com>
         Dear Brian,

         Thank you for your prompt and thoughtful response to my letter to you. I am very sorry that you have found yourself
         in this unpleasant situation. I have been in charge of all our financia l dealings almost from the beginning of our 60-
         year marriage. Dick almost never wrote a check himself and on the rare occasion he wanted to he asked me for the
         check and told me what it was for. He did not mention any personal obl igation to you.

         During t he t ime you say you entered into a contract with Dick his primary care physician discerned his mental
         condition and referred us to the University of Chicago Neurology Department, and you are aware of their conclusion.

         I am willing to give you $10,000 for your trouble. I am really sorry that you were so misled. I had to break a lease for
         office space with the Hyde Park Bank building and disengage him from other things, as well as deal with his health
         issues. Not fun for me either.

         With best regards,
         Charlene




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    https://outlook.live.com/mail/0/id/AQMkADAwATE2ZjExAC0yNWU4LWRmNmEtMDACLTAwCgBGAAAD8IBG1ZWusk6npKotsmABPQcA2I5qCkQlb0a...             1/1




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                               CERTIFICATE OF SERVICE

     The undersigned certifies that on March 6, 2024, the foregoing was sent to the Clerk of
     the United States District Court for the Northern District oflndiana, Hammond Division,
     via U.S. Postal Service and was also served via email pursuant to Fed. R. Civ. P.
     5(b)(2)(E) on the Defendant's below listed counsel of record per agreement to receive
     such papers via email.

                                  Justin M. Ellis
                                  j ellis@mololamken.com

                                  Steven F. Molo
                                  sinolo@mololamken.com

                                  Kenneth Notter
                                  knotter@mololamken.com

                                  David Beach
                                  dbeach@eichhorn-law.com




                                                 Brian Vukadinovich, Pro Se
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                                                 Wheatfield, Indiana 46392
                                                 Tel. 219-956-2462




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